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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


    ROOFERS’ PENSION FUND,                     Civil Action No.
    individually and on behalf of all others
    similarly situated,                        16-2805 (MCA) (LDW)

                   Plaintiffs,

    v.                                         ORDER TO SEAL

    JOSEPH C. PAPA, et al.,

                   Defendants.


    CARMIGNAC GESTION, S.A.,                   Civil Action No.

                   Plaintiff,                  17-10467 (MCA) (LDW)

    v.

    PERRIGO COMPANY PLC, et al.,

                   Defendants.


    MASON CAPITAL L.P. et al.,                 Civil Action No.

                   Plaintiffs,                 18-1119 (MCA) (LDW)

    v.

    PERRIGO COMPANY PLC, et al.,

                   Defendants.
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    PENTWATER EQUITY                       Civil Action No.
    OPPORTUNITIES MASTER FUND
    LTD., et al.,                          18-1121 (MCA) (LDW)

                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    HAREL INSURANCE COMPANY,               Civil Action No.
    LTD., et al.,
                                           18-2074 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    FIRST MANHATTAN CO.,                   Civil Action No.

                Plaintiff,                 18-2291 (MCA) (LDW)

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.




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    TIAA-CREF INVESTMENT                   Civil Action No.
    MANAGEMENT, LLC, et al.,
                                           18-8175 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    NATIONWIDE MUTUAL FUNDS, on            Civil Action No.
    behalf of its series NATIONWIDE
    GENEVA MID CAP GROWTH FUND             18-15382 (MCA) (LDW)
    and NATIONWIDE S&P 500 INDEX
    FUND, et al.,

                 Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    WCM ALTERNATIVES: EVENT-               Civil Action No.
    DRIVEN FUND, et al.,
                                           18-16204 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.




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    HUDSON BAY MASTER FUND LTD.,             Civil Action No.
    et al.,
                                             18-16206 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    SCHWAB CAPITAL TRUST on behalf           Civil Action No.
    of its series SCHWAB S&P 500 INDEX
    FUND, et al.,                            19-3973 (MCA) (LDW)

                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    OZ MASTER FUND, LTD., et al.,            Civil Action No.

                Plaintiffs,                  19-4900 (MCA) (LDW)

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.




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    ABERDEEN CANADA FUNDS –                Civil Action No.
    GLOBAL EQUITY FUND, a series of
    ABERDEEN CANADA FUNDS, et al.,         19-6560 (MCA) (LDW)

                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    DISCOVERY GLOBAL CITIZENS              Civil Action No.
    MASTER FUND, LTD., et al.,
                                           19-21502 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.


    YORK CAPITAL MANAGEMENT,               Civil Action No.
    L.P., et al.,
                                           19-21732 (MCA) (LDW)
                Plaintiffs,

    v.

    PERRIGO COMPANY PLC, et al.,

                Defendants.




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    BURLINGTON LOAN                                     Civil Action No.
    MANAGEMENT DAC, F/N/A
    BURLINGTON LOAN                                     20-1484 (MCA) (LDW)
    MANAGEMENT LIMITED,

                    Plaintiff,

    v.

    PERRIGO COMPANY PLC, et al.,

                    Defendants.


         THIS MATTER having come before the Court by way of defendant Perrigo Company

  plc’s (“Perrigo”) motion to seal portions of (1) the February 26, 2020 letter filed by Lead Plaintiff

  in the Roofers’ Pension Class Action and (2) the February 26, 2020 letter Perrigo filed in the Class

  Action and related Individual Actions; and having considered the brief submitted by Perrigo, the

  Declaration of R. David Gallo, and the factors contained in Local Civil Rule 5.3(c)(3), the Court

  makes the following Findings of Fact and Conclusions of Law:

          1. Perrigo seeks to seal portions of February 26, 2020 letters that include confidential

              business information, discovery materials, and information pertaining to the

              Government’s ongoing criminal investigation into anticompetitive practices in the

              generic pharmaceuticals industry.

          2. Local Civil Rule 5.3(c)(3) requires a party seeking to seal materials filed with the

              Court to file a motion that describes “(a) the nature of the materials or proceedings at

              issue, (b) the legitimate private or public interests which warrant the relief sought, (c)

              the clearly defined and serious injury that would result if the relief sought is not

              granted, and (d) why a less restrictive alternative to the relief sought is not available.”

          3. As the February 26, 2020 letters relate to the conduct of discovery in these matters and

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              certain discovery disputes, there is no presumption of public access to the information

              contained therein. Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 165

              (3d Cir. 1993) (“[T]here is a presumptive right to public access to all material filed in

              connection with nondiscovery pretrial motions, whether these motions are case

              dispositive or not, but no such right as to discovery motions and their supporting

              documents.”).

          4. Perrigo has a legitimate interest in maintaining the confidentiality of non-public

              discovery materials and competitive business information and would suffer a clearly

              defined injury if the information is disclosed.

          5. The Government has a legitimate interest in maintaining the confidentiality of

              information regarding an active criminal investigation.

          6. There is no less restrictive alternative available than to seal the information contained

              in the February 26, 2020 letters. Perrigo has sought to seal only that information that

              is entitled to protection.

          7. Perrigo has satisfied the requirements for sealing under Local Civil Rule 5.3(c).

         WHEREAS the Court having found that there are legitimate interests warranting the relief

  sought and no legitimate public interest in disclosure; and for good cause shown;

         IT IS on this day, March 24, 2020, ORDERED that:

         1. Perrigo’s motion to seal is GRANTED and the following information is hereby ordered

             SEALED:

                 February 26, 2020 Letter from Lead Plaintiff (16-2805, ECF No. 249)
          Page 1      Last paragraph, lines 5-8      Redact after “DOJ committed” to “See
                                                     Email”
          Page 2      First paragraph, lines 2-3     Redact after “the promised” to “or even
                                                     general”


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         Page 2       First paragraph, lines 5-6     Redact after “June 3, 2020” to “and to
                                                     continue”
         Exhibit 1                                   Redact in its entirety
           February 26, 2020 Letter from Perrigo (16-2805, ECF No. 250; 17-10467, ECF
         No. 97; 18-1119, ECF No. 77; 18-1121, ECF No. 80; 18-2074, ECF No. 97; 18-2291,
          ECF No. 95; 18-8175, ECF No. 87; 18-15382, ECF No. 81; 18-16204, ECF No. 65;
         18-16206, ECF No. 61; 19-3973, ECF No. 77; 19-4900, ECF No. 73; 19-6560, ECF
             No. 72; 19-21502, ECF No. 11; 19-21732, ECF No. 13; 20-1484, ECF No. 6)
         Page 2       Third paragraph                Redact in its entirety
         Page 3-4     Last paragraph beginning on Redact in its entirety
                      page 3
         Attachment                                  Redact in its entirety
         A

        2. To the extent they have not done so already, the parties are directed to file public

           redacted versions of the February 26, 2020 letters within 14 days of the date of this

           Order.

        3. The Clerk of Court is directed to terminate the motion at ECF No. 256 in Civil Action

           No. 16-2805.


                                             _s/ Leda Dunn Wettre, U.S.M.J._




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